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SETTLEMENT AGREEMENT AND GENERAL RELEASE
This SETTLEMENT AGREEMENT AND GENERAL RELEASE (“Agreement”) is
entered into by and between JUDY AMATUCCI (“Amatucci”) and HOMEBRIDGE
FINANCIAL SERVICES, INC., fik/a REAL ESTATE MORTGAGE NETWORK, INC,

(“HomeBridge”), having 2 principal place of business at 194 South Wood Avenue, Iselin, New

    

2009 to April 10, 2014; and

WHEREAS, Amstucei fledéiija

 

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disputes, causes of action, Ymevances, claims, contentions and differences between thern,

including but not limited to those claims asserted in the Litigation and otherwise, without further
litigation, without admitting wrongdoing of any Kind, and solely to avoid the fees and expenses

resulting from further litigation:

 

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NOW ‘THEREFORE, in consideration of the mutual promises, releases and covenants
hereinafter set forth and for other good and valuuble consideration, the receipt and sufficiency of
‘which is hereby acknowledged, the Pardes agree as follows:

1 Release: Amatucei, on behalf of herself, her heirs, distributees, successors,
assigns beneficiaries, executors, administrators, and/or representatives, agrees to irrevocably and
unconditionally release and forever discharge HomeBridge, its respective affiliates, subsidiaries,
parents, officers, directors, shareholders, agents, current and former employees, successors and
assigns, insurers, heirs, beneficiaries, executors, administrators, and representatives (the
“Releasees”), from any and all of claims of any kind or nature whatsoever, including, but not
limited to, the claims set forth in the Litigation, claims relating to Amatucci’s employment with
and/or separation from. HomeBridge, claims artsing under the Fair Labor Standards Act, 29
ULS.C, 88 201 et seg. CFLSA”), the District of Columbia Minimum Wage Revision Act, D.C.
Code §§ 32-1001 ef seg. CDCMWA", the District of Cohiambia Wage Payment and Collection
Law, D.C. Code §§ 32-1001 ef seg. (SDOWPCL”), the Maryland Fair Employment Practices
Act, Md. Code Ann., State Gov't §§ 20-601 et seg. CMFEPA”), the Maryland Wage Payment
and Collection Law, Md. Code Ann, Labor & Employment $$ 3-301 et seg. CMWPCL”, the

Age Discrimination in Employment Act, 29 U.S.C. 88 621 ef seg. (“ADEA”), the Older Workers
' Benefit Protection Act, Pub. L. No. 101-433, 104 Stat. 978 COWBPA”), and applicable local,
state, and federal laws or regulations, which Amatucci ever had, now has, or may have had, upon
or by reason of any matter, cause or thing whatsoever from, the beginning of time through and
including the date on which this Agreement was signed by the Parties. Itis understood and

agreed that this is a general release.

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2. Settlement Amount: Amatugci has allocaied her settlement distribution of
SIXTY THOUSAND DOLLARS ($60,000.00) (the “Settlement Amount”) as follows:
a} Within thirty 30) days of the Court granting the Parties’ Joint Motion to

Approve Settlement Agreement:
i, One check in the gross amount of $20,000.00 payable to JUDY
AMATOCCI as alleged lost wages, subject to all legally required
withholdings. HomeBridge shall issue to Amatucei an IRS Form W-2 for
this payment;
iL. One check in the gross amount of $20,000.00 payable to TIDY
AMATUCCI as alleged liquidated damages. HomeBridge shall issue
Amatooci an IRS Form 1099 for this payment;
HL, One check in the gross amount of $20,000.00 payable to
THATCHER LAW FIRM, LLC, which shall represent Amatucci's
atlomeys fees and costs. HomeBridge shall issue a Form 1099 io both
Amatucci and THATCHER LAW FIRM, LLC for this payment.

Amatueci acknowledges this is a benefit to which she is not otherwise entitied. Amatucei
further understands and agrees that the following are. express conditions precedent to payment of
the Settlement Amount: (a) Amatucci must present the executed Setflement Agreement and
General Release to David E. Cassidy, Esq.; (b} Amatucci and her attorney omst submit a
completed and executed W-9 form fom both Amatucci and Thatcher Law Firm, LLC to David
E. Cassidy, Hsq.; and (c) the dismissal of the Litigation with prejudice following the granting of

the Parties’ Jormt Motion to Approve Settlement Agreement.

 

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3. NON-ADMISSION OF LIABILITY: This Agreement and the promises and
payments made pursuant to this Agreement are not, and shall not be deemed, an admission of
Haburty or violation of any applicable law, contract provision, rule, regulation, or benefit plan, or
an admission of any liability or wrongdoing whatsoever, or waiver of any defenses HomeBridge
had or may have had in this Litigation, HomeBridge expressly denies any such Hability or
violation,

4. Dismissal of the Litigation: Amatucci understands and agrees that this
Agreement terminates the Litigation with prejudice and any and all claims related to the facts
giving cise to the Litigation, Amatucci further agrees that the Parties will file a Joint Motion to
Approve Settlement Agreement within five (5) business days following the full execution of this
Agreement. The Parties’ Joint Motion to Approve Settlement Agreement will seek review and
approval of this Agreement, as well as the dismissal ofthe Litigation with prejudice, to the extent
practicable whder the law. Itis expressly acknowledged and understood that this Paragraph 4
constitutes a material term of this Agreement and that HomeBridge shall not be obligated to
deliver the Settlement Amount to Amatueci and/or her attorneys, unless and until the Parties’
Joint Motion te Approve Settlement Agreement is granted and the Litigation is dismissed with
prejudice, In the event that the Court does not approve this Agreement or approves it subject to
conditions or modifications which are not acceptable to both Parties, the Parties shali attempt to
negotiate in good faith in order to modify this Agreement in a form acceptable to both the Parties

and the Court.

 

 

 

 
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5, Fees and Costs: Amatuccl understands and agrees that the Parties are to bear

 

their own fees and costs and that neither is a prevailing party under any applicable lew, statute or
regulation,

6, Taxes: Amatucci understands and agrees that payment of monies herein set forth
is m the natute of compensation for any and all claims including, but not Limited to, alleged
wages, personal injuries (pain and suffering}, emotional distress injuries, liquidated damages,
and counsel fees and costs claimed by her, Amatucci has full and complete responsibility for
any taxes, penalties or assessments of any kind, which may become due in connection with
payments made under this Agreement for which HomeBridge did not withhold taxes.

Amatucci understands that certain taxing authorities may, subsequent to this Agreement,
characterize payments made under this Agreement in a manner different from that which is
intended by the parties and reflected in this Agreement, Ametucel further understands and
agrees to accept full, complete, sole and entire responsibility for any tax liability, interest or
penalty that may be assessed against or incurred by the Releasees as a result of not withholding
taxes on any monies paid pursuant to this Agreement, and Amatucci agrees to indemnify and
hold harmless and pay to the Releasees an amount equal to such tax liability, interest or penalty,
including Releasees’ share of FICA should it be assessed against the Releasees for payments
which HomeBridge issued a Form 1099,

9. Consulation of Counsel: HomeBridge recommends te Amatucci that she consult
with legal counsel prior to executing this Agreement.

iG. Consideration Period: Amatucci acknowledges thet she has been given at least

twenty-one (21) days from her receipt of this Agreement to consider whether ot not to sign it,

 

 

 
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Amatucel agrees that if she signed this Agreement before the expiration of this twenty-one (21)
day period, she has done so voluntarily. |

li. Revocation Period: Amatucei is aware that she may change her mind and revoke
this Agreement at any time during the seven (7) day period immediately afier the date upon
which this Agreement is signed, in which case none of the provisions of this Agreement will
have effect. Such revocation must be delivered by hand or sent by certified mail, post-marked
before the end of the revocation period, to David E. Cassidy, Esq., Norris McLaughlin &
Marcus, 721 Route 202-206, Surte 200, P.C, Box 3933, Bridgewater, NJ 08807. In the event that
Ammatucci exercises her right of revocation, she agrees to immediate repay to HomeBridge any
amounts previously paid to her on her behalf pursuant to this Agreement,

12. Remedies for Breach: In the event that any party to this Agreement breaches,

 

violates, faiis or refuses to comply with any of the provisions, terms or conditions or any
warranties or representations of this Agreement (the “Breach”), the non-breaching party Is
entitied to recover against the breaching party damages, including costs, expenses and
reasonable atiorneys’ fees accruing to the non-breaching party as a consequence of the Breach
(including those incurred during appeals and coilection proceedings).

13. Reeovery of Payments: Amatucct understands and agrees that if she breaches
any provisions of this Agreement, in addition to any other legal or equitable remedy
HomeBridge may have, HomeBridge shall be entitled to recover any payments made to
Ammatuce] or on her behalf pursuant to Section 2, and Amatucci shall reimburse HomeBridge for

all its reasonable attorney's fees and costs incurred by it arising out of such breach,

 

 

 
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14, Counterparts: This Agreement may be exeouted in one or more counterpart
originais, whether by facsimile or otherwise all of which, taken together, shall constitute one and
the same instrument. Facsimile or electronically transmitted signatures shall have the same force
and effect as originals for all purposes.

15. Entire Agreement: The Parties hereby acknowledge and agree that this
Agreement constitutes and contains the exclusive and entire agreement and understanding
between tem concerning Amatucci’s employment with HomeBridge, the termination thereof, the
clroumstances attendant thereto, and the other subject matters addressed herein between the
parties, and supersedes all prior negotiations and all agreement proposed or otherwise, whether
written or oral, concerning the subject sontiers hereof.

16, Modification: This Agreement may not be waived, changed, modified,

_ abandoned, or terminated, in whole ot in part, except by an. instrument signed by an authorized
representative of HomeBridge and by Amatucci,

17. Reeetot and Effective Date: Amatuccl hereby acknowledges that this
Agreement was preserted to her on December , 2015. This Agreement shall not become

effective or enforceable until the expiration of the seven-day revocation period set forth above.

 

 
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IN WITNESS WHEREOR, the Parties have executed this Sett!

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AE DY AMATUCCT

Los FINANGBAI SERVICES, INC.
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ny Joseph. Sh eer Cem , COO

  

  

 

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